   Case 2:10-md-02179-CJB-JCW Document 24945 Filed 10/03/18 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                  MDL NO. 2179
“Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010                     SECTION J

                                                 JUDGE BARBIER
This Document Relates to:
No. 12-970                                       MAG. JUDGE WILKINSON



                                      ORDER

  [Regarding Remaining Claims in the Economic and Property Damages
             Settlement that Are Subject to Moratoria Hold]

      Claims for Moratoria Losses are “Expressly Reserved Claims” under the

Deepwater Horizon Economic and Property Damages Settlement (“Settlement”),

meaning such claims “are not recognized or released under the [Settlement], and are

reserved to the Economic Class Members.” (Settlement § 3 & 3.3, Rec. Doc. 6430-1.)

Exhibit 16 to the Settlement contemplated that BP and Class Counsel would, relative

to the Support Services to the Oil & Gas Industry, “develop agreed upon guidance

that the Claims Administrator shall apply in making compensation determinations

that adhere to the moratoria exclusion in the [S]ettlement.” BP and Class Counsel

have not, in the six years since the Settlement was executed, reached agreement on

a set of protocols or guidance, and are at an unresolvable impasse, leaving certain

claims subject to a “Moratoria Hold” by the Claims Administrator.

      By the Court’s Order dated March 17, 2017 (Rec. Doc. 22390), all of the

remaining Claimants subject to a “Moratoria Hold” were granted the option to

exclude (“Opt Out”) that claim from the Settlement Program and proceed in litigation.
   Case 2:10-md-02179-CJB-JCW Document 24945 Filed 10/03/18 Page 2 of 4



Since the issuance of that Order, the Neutrals’ process has substantially reduced via

settlement the number of remaining Claimants subject to a “Moratoria Hold” who did

not previously exercise their Opt Out rights. Given that the Court cannot compel BP

and Class Counsel to establish “agreed” protocols or guidance to govern Moratoria

Hold claims in the Settlement Program, the Claims Administrator has no ability to

process those remaining, unresolved claims that are subject to “Moratoria Hold” in

the Settlement Program. For these reasons:

      IT IS ORDERED that the Claims Administrator for the Settlement Program

is instructed to provide a copy of this Order to all Claimants (or their attorneys, if

represented) who have a claim pending in the Settlement Program that is on

“Moratoria Hold,” using whatever method the Claim Administrator ordinarily uses

to communicate with that Claimant (or the Claimant’s attorney), on or before October

12, 2018.

      IT IS FURTHER ORDERED that any Claimant (i) who has received a notice

from the Settlement Program that his, her, or its claim is subject to a “Moratoria

Hold” and (ii) that claim has not been resolved to date (defined as the “Remaining

Moratoria Hold Claims”) will be deemed hereby EXCLUDED from the Settlement

and instead may proceed with its claim in litigation before this Court by compliance

with the terms of this Order. With respect to any such claim that is excluded from

the Settlement pursuant to and in accordance with the terms of this Order, BP agrees

that it will not raise, assert, or otherwise argue that the claim is barred by statute of

limitations, prescription, or is otherwise untimely, nor shall BP argue that the




                                           2
    Case 2:10-md-02179-CJB-JCW Document 24945 Filed 10/03/18 Page 3 of 4



Claimant failed to satisfy “presentment” under the Oil Pollution Act, 33 U.S.C. §

2713.

        IT IS FURTHER ORDERED that, in order to proceed further in litigation,

any Claimant with unresolved Remaining Moratoria Hold Claims that had not

previously filed an individual complaint and complied with Pretrial Order No. 60,

must file an individual complaint (one per plaintiff) and file a Sworn Statement that

complies with the requirements of Pretrial Order No. 60 (Rec. Doc. 16050)1 by no later

than November 16, 2018.

        IT IS FURTHER ORDERED that all Claimants with unresolved Remaining

Moratoria Hold Claims that wish to proceed further in litigation must also submit a

Sworn Statement Regarding General Maritime Law Claims that complies with

Pretrial Order No. 64 (Rec. Doc. 22297) and a Verified Statement Regarding

Causation and Damages that complies with Pretrial Order No. 65 (Rec. Doc. 23825)2

by no later than November 30, 2018.

        The PTO 60 Sworn Statement, PTO 64 Sworn Statement Regarding General

Maritime Law Claims, and the PTO 65 Verified Statement Regarding Causation and




   1
     A copy of Pretrial Order No. 60 and the Sworn Statement (Exhibit A to Pretrial Order No. 60)
can also be found on the Court’s public website for MDL 2179
(http://www.laed.uscourts.gov/OilSpill/OilSpill.htm) under the March 29, 2016 entry on the Current
Developments tab.

   2 A copy of Pretrial Order No. 64 and the Sworn Statement Regarding General Maritime Law
Claims (Exhibit A to Pretrial Order No. 64) can be found by visiting the Court’s public website for
MDL 2179 (http://www.laed.uscourts.gov/OilSpill/OilSpill.htm) under the entry for February 22,
2017 on the Current Developments tab. A copy of Pretrial Order No. 65 and the Verified Statement
Regarding Causation and Damages (Exhibit A to Pretrial Order No. 65) can also be found on this
website under the January 11, 2018 entry.



                                                 3
   Case 2:10-md-02179-CJB-JCW Document 24945 Filed 10/03/18 Page 4 of 4



Damages should be filed in the docket for the plaintiff’s individual lawsuit and not

in the master docket for MDL 2179.

       New Orleans, Louisiana, this 3rd day of October, 2018.




                                              ______________________________
                                                     CARL J. BARBIER
                                                 United States District Judge




                                         4
